                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF TENNESSEE
                            NASHVILLE DIVISION


SCOTT PURRONE, derivatively on behalf of )
ENVISION HEALTHCARE CORP., f/k/a         )
ENVISION HEALTHCARE HOLDINGS, INC., )
                                         )
     Plaintiff,                          )
                                         )
v.                                       )     Case No. 3:17-cv-01472
                                         )     Judge Campbell/Frensley
WILLIAM A. SANGER, et al.,               )
                                         )
     Defendants, and                     )
                                         )
ENVISION HEALTHCARE CORP.,               )
                                         )
     Nominal Defendant.                  )


RYAN SEVY, derivatively on behalf of )
ENVISION HEALTHCARE CORP., f/k/a     )
ENVISION HEALTHCARE HOLDINGS, INC., )
                                     )
     Plaintiff,                      )
                                     )
v.                                   )         Case No. 3:17-cv-01550
                                     )         Judge Campbell/Frensley
CHRISTOPHER A. HOLDEN, et al.,       )
                                     )
     Defendants, and                 )
                                     )
ENVISION HEALTHCARE CORP.,           )
                                     )
     Nominal Defendant.              )




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SAM NOURANI, derivatively on behalf of                 )
ENVISION HEALTHCARE CORP.,                             )
                                                       )
          Plaintiff,                                   )
                                                       )
v.                                                     )      Case No. 3:17-cv-01570
                                                       )      Judge Campbell/Frensley
CHRISTOPHER A. HOLDEN, et al.,                         )
                                                       )
          Defendants, and                              )
                                                       )
ENVISION HEALTHCARE CORP.,                             )
                                                       )
          Nominal Defendant.                           )


                                              ORDER

          This matter is before the Court to address various motions to consolidate the above cases

and appoint a lead plaintiff and lead counsel. On January 11, 2018, Plaintiffs Scott Purrone and

Ryan Sevy filed a joint Motion to Consolidate Related Derivative Actions and Appoint Lead

Counsel that proposed that Mr. Purrone and Mr. Sevy be named co-lead plaintiffs, and their

respective attorneys co-lead counsel. Docket No. 21. 1 Two weeks later, Plaintiff Sam Nourani

filed a document that is both a Response to the prior Motion to Consolidate and a Cross-Motion

proposing that Mr. Nourani be named lead plaintiff and his attorneys lead counsel. Docket No.

22. Mr. Purrone and Mr. Sevy have filed a Response to Mr. Nourani’s Cross-Motion. Docket

No. 25.

                                        I. BACKGROUND

          Envision Healthcare Corporation (“Envision”) is a Delaware corporation headquartered

in Nashville, Tennessee and engaged in the provision of healthcare services nationwide. The

three Plaintiffs in the above-captioned cases allege that certain current and former officers and

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  All docket numbers refer to documents in 3:17-cv-01472 unless otherwise noted. In most
instances, the identical document has also been filed in 3:17-cv-01550 and 3:17-cv-01570.
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directors of Envision breached their fiduciary duties, wasted corporate assets, and issued false

and misleading proxy statements. All three Plaintiffs propose to undertake the instant litigation

derivatively on behalf of Envision.

                                            II. ANALYSIS

A. Consolidation of Cases

       Federal Rule of Civil Procedure 42(a) provides:

               If actions before the court involve a common question of law or
               fact, the court may:

                       (1) join for hearing or trial any or all matters at issue in the
                       actions;

                       (2) consolidate the actions; or

                       (3) issue any other orders to avoid unnecessary cost or
                       delay.

       Pursuant to Rule 42, the court has broad discretionary authority to consolidate cases,

especially when consolidation will prevent the wasteful duplication of time, effort, and expense.

Horn v. Raines, 227 F.R.D. 1 (D.D.C. 2005). Consolidation is appropriate where the costs of

defending multiple actions may do serious harm to the corporation on whose behalf the litigation

is brought. Id. at 2, citing MacAlister v. Guterma, 263 F.2d 65, 68 (2d Cir. 1958).

       Here, all Plaintiffs agree that these cases should be consolidated. See Docket No. 21, p.

3; Docket No. 22, p. 7-8. Mr. Purrone and Mr. Sevy also allege that Defendants do not oppose

their Motion. Docket No. 21, p. 3. Further, the Court finds, pursuant to Fed. R. Civ. P. 42, that

consolidation is appropriate because these cases share common factual and legal issues. The

Court also finds that consolidation will avoid unnecessary expenditure of the Parties’ and the

Court’s resources on duplicative efforts.




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       Accordingly, the Court will CONSOLIDATE these actions, which will henceforth

proceed under the caption and case number of the lead case, 3:17-cv-01472. All filings shall be

made accordingly.

B. Lead Plaintiff

       There is no requirement that a court appoint lead plaintiff (or lead counsel) in a

shareholder derivative action. Such actions are governed by Fed. R. Civ. P. 23.1, which provides

that a plaintiff must “fairly and adequately represent the interests of shareholders or members

who are similarly situated in enforcing the right of the corporation or association.” In instances

when a lead plaintiff has been chosen, courts have considered several factors, including: “(1)

whether the plaintiff held shares during the relevant time period; (2) whether the plaintiff is

represented by capable counsel; and (3) whether the plaintiff is subject to unique defenses that

would make appointment problematic.” Horn, 227 F.R.D. at 3, citing Millman v. Brinkley, 2004

U.S. Dist. LEXIS 20113 (N.D. Ga. Oct. 1, 2004).

       As will be further discussed below, all three Plaintiffs appear to be represented by

capable counsel, and no Plaintiff has identified, nor has the Court discovered, any unique

defenses that would make appointment of any of the three problematic. As to the first factor, all

Plaintiffs have alleged that they are current Envision shareholders and have continuously held

such stock at all relevant times. Thus, the Court finds that each of the proposed lead plaintiffs is

qualified to be appointed as lead plaintiff, and the choice of lead plaintiff will turn instead on the

appointment of lead counsel, discussed below.

C. Lead Counsel and Liaison Counsel

       In complex cases, the Court may, in its discretion, establish a leadership structure to

facilitate and coordinate the prosecution of the litigation. See, e.g., In re Bendectin Litigation,



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857 F.2d 290, 297 (6th Cir. 1988), cert. denied, 488 U.S. 1006, 109 S. Ct. 788. “In selecting

lead counsel, the principle that guides the Court’s decision is which counsel will best serve the

interest of the plaintiffs.” Flynn v. Miller Energy Res., Case No. 3:11-CV-412, 2012 U.S. Dist.

LEXIS 88184 at *7-*8 (E.D. Tenn. June 26, 2012), quoting Horn, 227 F.R.D. at 3 (internal

quotation marks and citation omitted).

          All of the firms seeking appointment in this case have impressive credentials and

extensive experience litigating cases of this nature. The Court has no doubt that each proposed

firm is competent to serve the best interests of the Plaintiffs. All of the Complaints and other

pleadings filed in the three matters are of a high quality and indicate that all counsel have

engaged in extensive investigation into the facts and claims alleged on behalf of Envision. The

Court finds, however, that Mr. Surrone and Mr. Sevy have proposed a more efficient and

effective leadership structure. Their respective counsel, Robbins Arroyo and Johnson Fistel,

appear to have been working together and with Defendants to facilitate the progress of this

matter. The Court is not eager to upset this joint effort by either severing it or by adopting a

structure where all three Plaintiffs serve as lead, along with their counsel, as Mr. Nourani

proposes. Further, Robbins Arroyo and Johnson Fistel have both had experience serving as lead

counsel in similar cases in Tennessee. Thus, the Court finds that the interests of the Plaintiffs in

this matter will be best served by the appointment of the firms of Robbins Arroyo and Johnson

Fistel.

                                        III. CONCLUSION

          For the foregoing reasons, these cases are CONSOLIDATED and will proceed under the

caption and case number of the lead case, 3:17-cv-01472. All filings shall be made accordingly.

Robbins Arroyo and Johnson Fistel are appointed co-lead counsel. The Nashville firm of



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Davies, Humphreys, Horton & Reese is appointed liaison counsel. Mr. Purrone’s and Mr.

Sevy’s Motion to Consolidate Related Derivative Actions and Appoint Lead Counsel (Docket

No. 21) is GRANTED. 2 Mr. Nourani’s Cross-Motion of Sam Nourani’s Appointment as Lead

Plaintiff and Appointment of Lead and Liaison Counsel (Docket No. 11) is DENIED. 3



                                           IT IS SO ORDERED.


                                           ___________________________________
                                           Jeffery S. Frensley
                                           United States Magistrate Judge




2
  This document is identical to Docket No. 21 in 3:17-cv-01550 and Docket No. 9 in 3:17-cv-
01570.
3
  This document is identical to Docket No. 11 in 3:17-cv-01570.
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